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                                                                 Honorable Thomas S. Zilly
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                                  U.S. DISTRICT COURT
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10                    FOR THE WESTERN DISTRICT OF WASHINGTON

11
          STRIKE 3 HOLDINGS, LLC, a
12        Delaware corporation,
                                             Case No. 2:17-cv-01731-TSZ
13
                Plaintiff,
14                                           DECLARATION OF KIREN
                vs.                          ROCKENSTEIN IN SUPPORT OF
15                                           DEFENDANT’S MOTION FOR A
          JOHN DOE, subscriber assigned IP   MORE DEFINITE STATEMENT
16        address 73.225.38.130,             ON PLAINTIFF’S FIRST
                                             AMENDED COMPLAINT IN
17                                           VIEW OF THIS COURT’S
                Defendant.
18                                           ORDER AT DOCKET 36

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                                                        Venture Commerce Center, 3699 NE John Olsen Ave
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     CASE NO. 2:17-CV-01731-TSZ
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     I, Kiren Rockenstein, declare as follows:
 1
           1. I am an attorney licensed to practice law within the States of California and Oregon. I
 2
               am admitted to several district courts. I am employed at Edmondson IP Law and have
 3
               worked actively on this matter.
 4         2. I have a PhD in Neuroscience, over a decade of experience in academic research, and
 5             am an author on over 40 peer-reviewed scientific articles. I am very experienced in

 6             analyzing large volumes of data, and trained to identify correlations, trends, and
               abnormalities.
 7
           3. I have analyzed all the cases filed by Plaintiff Strike 3 Holdings LLC (“S3H”)1,
 8
               specifically the exhibits accompanying the complaints in which S3H lays out the hashes
 9
               it claims have been infringed. This data set comprises over 90, 000 individual data
10             points related to the hashes themselves, their associated infringement dates, copyright
11             dates, temporal relationship between the hashes in a single complaint, and over the
12             entirety of the cases filed to date.

13         4. The present action is rare, if not unique, in that it is the first time S3H has filed a First
               Amended Complaint (FAC), accompanied by a new exhibit, providing an opportunity
14
               to directly compare the initial hash infringement data with revised infringement data.
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               According to S3H, the data in the initial complaint and that in the FAC were generated
16             using the same infringement detection software, a software it claims to be “not only
17             accurate, but also superior to similar software law enforcement uses”. Dckt. 43 ¶ 25. In
18             my experience, and according to logical reasoning, I would expect the data generated by

19             such an accurate system to be identical from one sampling run time to the next. As laid
               out below, this was not the case with the data provided by S3H to supports it claim of
20
               copyright infringement.
21
           5. S3H filed its FAC on 07/03/2018. Dkt 43. Accompanying this FAC was Exhibit A, a
22             sheet purporting to lay out the hashes infringed by the Defendant in this action,
23             (hereafter “Exhibit A-FAC”). Exhibit A-FAC listed 87 works as having been infringed.
24             Dkt 43-1. An annotated version of Exhibit A-FAC is attached as Exhibit 1 to this

25             declaration.

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     1
27       Through May 31, 2018.

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        6. Upon comparison of Exhibit A-FAC with the Exhibit A accompanying the originally
 1
           filed complaint, Dkt 1, (hereafter “Exhibit A-OC”), I observed that Exhibit A-OC listed
 2
           only 80 hashes. An annotated version of Exhibit A-OC is attached as Exhibit 2 to this
 3
           declaration.
 4      7. In order to examine these 7 “new” hashes, I performed a detailed comparative analysis
 5         between Exhibit A-OC and Exhibit A-FAC. In order to perform this analysis I opened

 6         the pdf version of each Exhibit A and, using the “Save as Other” option in Adobe Pro, I
           saved each Exhibit A as an excel spreadsheet. I copied the data from the excel sheet
 7
           generated from Exhibit A-OC into the excel sheet generated from Exhibit A-FAC,
 8
           resulting in a single spreadsheet that had the data from both Exhibits. This allowed me
 9
           to analyze Exhibit A-FAC and Exhibit A-OC in more detail. I then used the “Data Sort”
10         function in Excel to sort the data according to variables such as UTC date (the
11         “infringement date”), or by hash identity.
12      8. Sorting by Hash number demonstrated that, rather than simply 7 “new” hashes having

13         been added to the list, there were significant wholesale changes in the hashes
           purportedly infringed. Specifically:
14
               a. EIGHT hashes in Exhibit A-OC do not appear in Exhibit A-FAC. These are
15
                   annotated in Exhibit 2.
16             b. FIFTEEN hashes in Exhibit A-FAC do not appear in Exhibit A-OC. These are
17                 annotated in Exhibit 1.
18      9. S3H provides no justification or rationale for why the 8 hashes from Exhibit A-OC do

19         not appear in Exhibit A-FAC. In my experience this type of anomaly between sampling
           sets indicates a false-positive result, such that theses 8 hashes were incorrectly
20
           identified in Exhibit A-OC. These 8 hashes represent a 10% false-positive rate. This
21
           strongly argues against the accuracy of Plaintiff’s infringement detection software, and
22         casts into doubt the accuracy of the processes used to generate Exhibit A-FAC and
23         Exhibit A-OC.
24      10. Of the 15 newly appearing hashes in Exhibit A-FAC, rather than being captured at a

25         later time point than those in Exhibit A-OC, which would have had some logic, the
           hashes are dated from 05/15/2018 to 12/01/2017, significantly overlapping the time
26
           period covered by Exhibit A-OC.
27

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         11. S3H provides no justification or rationale for why the 15 hashes from Exhibit A-FAC
 1
            did not appear in Exhibit A-OC. It is likely that these 15 hashes may also represent
 2
            false-positives, a 17% false-positive rate, again casting into doubt the accuracy of
 3
            Plaintiff’s infringement detection software, and the processes used to generate Exhibit
 4          A-FAC and Exhibit A-OC.
 5       12. The significant rate of false-positives indicated by the discrepancies between Exhibit A-

 6          FAC and Exhibit A-OC have serious implications in relation to the “per work” statutory
            damages claimed by S3H.
 7
         13. The inconsistencies between the hashes identified in Exhibit A-FAC and Exhibit A-OC
 8
            are particularly troubling in light of Plaintiff assertions that the process of capturing
 9
            PCAPs occurs automatically, and is inalterable, Dckt 43, ¶ 34, and that PCAP
10          information once written to a WORM drive, cannot be altered Dckt 43, ¶ 29. It is clear
11          that the information in Exhibit A-FAC and Exhibit A-OC not just a simple addition of 7
12          new hashes, rather it is a wholesale change in the accused hashes. This evidence is

13          contrary to the professed accuracy of S3H’s detection software.
         14. Another irregularity between Exhibit A-FAC and Exhibit A-OC concerns the listed
14
            filing dates of the copyright applications, for example:
15
                a. Work 13 in Exhibit A-FAC corresponds to the same hash as Work 10 in the
16                  Exhibit A-OC, however in Exhibit A-FAC the copyright application filing is
17                  listed as 09/15/2017, while in Exhibit A-OC it is listed as 09/07/2017 – a
18                  difference of +8 days. Similar discrepancies are seen with2:

19              b. Work 15 in Exhibit A-FAC and Work 12 in Exhibit A-OC (same hashes) - a
                    difference of +46 days.
20
                c. Work 22 in Exhibit A-FAC and Work 20 in Exhibit A-OC (same hashes) - a
21
                    difference of +8 days.
22              d. Work 28 in Exhibit A-FAC and Work 25 in Exhibit A-OC (same hashes) - a
23                  difference of +22 days.
24

25   2
      There are numerous works where the difference is a single day, these seem to correspond to
     instances where Exhibit A-OC listed a CRO number beginning “15xxxx”, which has been
26   updated in Exhibit A-FAC to reflect the actual copyright registration number. These single day
27   differences have been omitted from this list.

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               e. Work 31 in Exhibit A-FAC and Work 29 in Exhibit A-OC (same hashes) - a
 1
                  difference of -3 days.
 2
               f. Work 32 in Exhibit A-FAC and Work 30 in Exhibit A-OC (same hashes) - a
 3
                  difference of -5 days.
 4             g. Work 33 in Exhibit A-FAC and Work 31 in Exhibit A-OC (same hashes) - a
 5                difference of +15 days.

 6             h. Work 41 in Exhibit A-FAC and Work 39 in Exhibit A-OC (same hashes) - a
                  difference of +17 days.
 7
               i. Work 42 in Exhibit A-FAC and Work 40 in Exhibit A-OC (same hashes) - a
 8
                  difference of +5 days.
 9
               j. Work 44 in Exhibit A-FAC and Work 42 in Exhibit A-OC (same hashes) - a
10                difference of +12 days.
11             k. Work 49 in Exhibit A-FAC and Work 46 in Exhibit A-OC (same hashes) - a
12                difference of +17 days.

13             l. Work 54 in Exhibit A-FAC and Work 51 in Exhibit A-OC (same hashes) - a
                  difference of +8 days.
14
               m. Work 58 in Exhibit A-FAC and Work 54 in Exhibit A-OC (same hashes) - a
15
                  difference of +17 days.
16             n. Work 59 in Exhibit A-FAC and Work 55 in Exhibit A-OC (same hashes) - a
17                difference of +11 days.
18             o. Work 60 in Exhibit A-FAC and Work 57 in Exhibit A-OC (same hashes) - a

19                difference of +8 days.
               p. Work 78 in Exhibit A-FAC and Work 71 in Exhibit A-OC (same hashes) - a
20
                  difference of -3 days.
21
               q. Work 81 in Exhibit A-FAC and Work 73 in Exhibit A-OC (same hashes) - a
22                difference of -5 days.
23             r. Work 82 in Exhibit A-FAC and Work 74 in Exhibit A-OC (same hashes) - a
24                difference of +33 days.

25      15. S3H has provided no clear rationale in the FAC or Exhibit A-FAC for why the filing
           dates of the copyright applications for the same hashes differ between Exhibit A-FAC
26
           and Exhibit A-OC. Given that copyright filing dates are a static data point (i.e. the filing
27

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            dates are not affected by variable such as the date of infringement or when the particular
 1
            complaint was filed), there is no justifiable reason for these data points to differ
 2
            between exhibits.
 3

 4          PURSUANT TO 28 U.S.C. § 1746, I hereby I declare under penalty of perjury that the
     foregoing is true and correct.
 5

 6          Executed on July 17, 2018              by: /s/ Kiren Rockenstein
                                                   Kiren Rockenstein
 7                                                 Declarant
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                                     CERTIFICATE OF SERVICE
 1
            I, J. Curtis Edmondson, hereby certify that on July 17, 2018, I electronically filed the
 2
     foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 3
     such filing to the following:
 4

 5                  Bryan J. Case, WSBA #41781
                    Email: bcase@foxrothschild.com
 6                  FOX ROTHSCHILD LLP (SEATTLE)
                    1001 Fourth Avenue, suite 4500
 7                  Seattle, Washington 98154
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                    10250 Constellation Blvd., Suite 900
11                  Los Angeles, California 90067
                    Telephone: (310) 598-4150
12
                    Attorneys for Plaintiff Strike 3 Holdings LLC
13

14
            DATED this 17th day of July, 2018.
15

16                                           By:      /s/ J. Curtis Edmondson
17                                                 J. Curtis Edmondson

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